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 6                        UNITED STATES DISTRICT COURT
 7                     SOUTHERN DISTRICT OF CALIFORNIA
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     IN RE: PACKAGED SEAFOOD                      Case No. 15md2670 DMS(MSB)
10
     PRODUCTS ANTITRUST LITIGATION
11
12                                                ORDER GRANTING
     This Document Relates To:                    COMMERCIAL FOOD
13                                                PREPARER PLAINTIFFS’
14   All Commercial Food Preparer                 MOTION FOR FINAL
     Plaintiff Actions                            APPROVAL OF STARKIST AND
15                                                LION SETTLEMENTS
16
17         This Court held a hearing on the settlement agreements between the Commercial

18 Food Preparer Plaintiffs (“CFPs”) and StarKist Co. and Dongwon Industries Co., Ltd.
19 (“StarKist Settlement”), and Lion Capital (Americas), Inc., Lion Capital LLP, and Big
20 Catch Cayman LP (“Lion Settlement”) on November 15, 2024. As established at the
21 hearing, the StarKist and Lion Settlements are nearly identical in their terms and
22 conditions, differing primarily in the amount of monetary relief provided to the CFPs.
23 Having considered this Motion, its accompanying memorandum and exhibits,
24 including the agreements, and the record generally, the Court hereby GRANTS the
25 Motion.
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          IT IS HEREBY ORDERED:
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      1. The Court has exclusive jurisdiction over the StarKist and Lion Settlements,
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         including the interpretation, administration and consummation of the
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         settlements, except that, pursuant to the StarKist and Lion Settlements,
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         Dongwon Industries Co., Ltd. and the above named Lion Defendants do not
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         consent to jurisdiction in the United States District Court for the Southern
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         District of California for any other purpose.
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      2. For the purposes of this Order, except as otherwise set forth herein, the Court
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         adopts and incorporates the definitions contained in the StarKist and Lion
 9
         Settlements.
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      3. The Court hereby finally approves the StarKist and Lion Settlements and their
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         terms and finds that the settlements are, in all respects, fair, reasonable, and
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         adequate pursuant to Federal Rule of Civil Procedure 23. Further, the Court
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         directs finalization of the settlement agreements according to their terms and
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         conditions.
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      4. This Court hereby dismisses on the merits and with prejudice all claims in the
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         CFPs’ action against the StarKist and Lion Defendants, with each party to
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         bear its own costs and fees, including attorneys’ fees, except as provided in
18
         the settlement agreements and in the CFPs’ Motion for Attorneys’ Fees and
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         Costs.
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      5. The Releases in the StarKist and Lion Settlements are incorporated herein and
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         the Releasing Parties shall, by operation of law, be deemed to have released
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         all Released Parties from the Released Claims. All entities who are Releasing
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         Parties or who purport to assert claims on behalf of the Releasing Parties are
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         hereby and forever barred and enjoined from commencing, prosecuting, or
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         continuing, against the Released Parties, in this or any other jurisdiction, any
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         and all claims, causes of action or lawsuits, which they had, have, or in the
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         future may have arising out of or related to any of the Released Claims as
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         defined in the settlement agreements.
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      6. The Released Parties are hereby and forever released and discharged with
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         respect to any and all claims or causes of action which the Releasing Parties
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         had, have, or in the future may have, arising out of or related to any of the
 5
         Released Claims as defined in the StarKist and Lion Settlements.
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      7. The notice given to the CFPs’ certified Litigation Class about the StarKist and
 7
         Lion Settlement Agreements was the most effective and best notice
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         practicable under the circumstances. This notice provided due and sufficient
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         notice of proceedings and of the matters set forth therein, including the
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         proposed StarKist and Lion Settlements, to all persons entitled to such notice,
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         and this notice fully satisfied the requirements of Federal Rules of Civil
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         Procedure 23(c)(2) and 23(e)(1) and the requirements of due process.
13
      8. No objections to the settlements have been filed.
14
      9. Any member of the CFPs’ certified Litigation Class who failed to timely and
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         validly request to be excluded from the Litigation Class shall be subject to and
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         bound by the provisions of the StarKist and Lion Settlements, the Released
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         Claims contained therein, and this Order with respect to all Released Claims,
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         regardless of whether such members of the Litigation Class seek or obtain any
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         distribution from the settlements’ proceeds.
20
      10.Without affecting the finality of this Final Judgment in any way, the Court
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         hereby retains continuing exclusive jurisdiction over: (a) finalization,
22
         administration, and implementation of the StarKist and Lion Settlements and
23
         any allocation or distribution to the CFP’s Litigation Class Members pursuant
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         to further orders from this Court; (b) disposition of the StarKist and Lion
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         Settlements’ proceeds; (c) hearing and determining the pending Lead Counsel
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         Motion for Attorneys’ Fees and Costs; (d) the actions in this litigation until
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         this Final Judgment has become effective and each and every act agreed to be
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         performed by the parties all have been performed pursuant to the StarKist and
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         Lion Settlements; (e) hearing and ruling on any matters relating to any plan of
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         allocation or distribution of proceeds from the StarKist and Lion Settlements;
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         (f) the parties to the StarKist and Lion Settlements for the purpose of enforcing
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         and administering the settlement agreements and the releases contemplated
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         by, or executed in connection with, the settlement agreements; (g) the
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         enforcement of this Final Judgment; and (h) over any suit, action, proceeding,
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         or dispute arising out of or relating to the StarKist and Lion Settlements or the
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         applicability of the settlement agreements that cannot be resolved by
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         negotiation and agreement.
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      11.The notice provisions of the Class Action Fairness Act, 28 U.S.C. § 1715 have
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         been satisfied.
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      12.The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil
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         Procedure, that judgment should be entered and further finds that there is no
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         just reason for delay in the entry of final judgment as to the parties to the
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         StarKist and Lion Settlements. Accordingly, the Clerk is hereby directed to
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         enter this Order and Final Judgment forthwith.
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          IT IS SO ORDERED.
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20 Dated: November 15, 2024
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